           UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                   No. 21-2835

                            BRYAN DAVID RANGE,
                                         Appellant

                                        v.

              ATTORNEY GENERAL UNITED STATES OF AMERICA;
              REGINA LOMBARDO, Acting Director, Bureau of Alcohol,
                       Tobacco, Firearms and Explosives

                           (E.D. Pa. No. 5-20-cv-03488)

Present:      CHAGARES, Chief Judge, JORDAN, HARDIMAN, SHWARTZ,
              KRAUSE, RESTREPO, BIBAS, PORTER, MATEY, PHIPPS,
              FREEMAN, MONTGOMERY-REEVES, CHUNG, ROTH and AMBRO,
              Circuit Judges

      1. Unopposed Motion filed by Appellant Bryan David Range to reschedule oral
         argument


                                                   Respectfully,
                                                   Clerk/CND

_________________________________ORDER________________________________
The foregoing motion is DENIED.


                                                   By the Court,

                                                   s/ Michael A, Chagares
                                                   Chief Judge

Dated: 6 September 2024
      AWI/CC: All Counsel of Record
